                      IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-57

                                          No. 345PA19

                                       Filed 11 June 2021

     CRAZIE OVERSTOCK PROMOTIONS, LLC

                    v.
     STATE OF NORTH CAROLINA; and MARK J. SENTER, in his official capacity as
     Branch Head of the Alcohol Law Enforcement Division


             On discretionary review pursuant to N.C.G.S. § 7A-31 of a unanimous decision

     of the Court of Appeals, 266 N.C. App. 1 (2019), affirming, in part, and reversing and

     remanding, in part, an order entered on 7 August 2018 by Judge Vince M. Rozier, Jr.,

     in the Superior Court, Alamance County. Heard in the Supreme Court on 23 March

     2021.


             Morningstar Law Group, by Keith P. Anthony and William J. Brian, Jr., for
             plaintiff-appellant.

             Joshua H. Stein, Attorney General, by Olga E. Vysotskaya de Brito, Special
             Deputy Attorney General; Ryan Y. Park, Solicitor General; and James W.
             Doggett, Deputy Solicitor General, for the State-appellees.

             Edmond W. Caldwell, Jr., and Matthew L. Boyatt for North Carolina Sheriffs’
             Association; Fred P. Baggett for North Carolina Association of Chiefs of Police;
             and Jim O’Neill for North Carolina Conference of District Attorneys, amici
             curiae.


             ERVIN, Justice.

¶1           This case arises from an enterprise developed and operated by plaintiff Crazie

     Overstock, LLC, which has sought in this litigation to enjoin enforcement measures
                        CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                            2021-NCSC-57

                                         Opinion of the Court



     taken by the State and certain members of the State’s Alcohol and Law Enforcement

     Division1 stemming from the belief that a Rewards Program encompassed within the

     operation of Crazie Overstock’s enterprise violates various provisions contained in

     Article 37 of Chapter 14 of the North Carolina General Statutes. For the reasons set

     forth in more detail below, we modify and affirm the decision of the Court of Appeals.

¶2          Crazie Overstock sells discount goods, such as furniture, jewelry, kitchen

     goods, movies, music, and electronics on its website and through licensed retail

     establishments which are operated by independent owners.                 Although Crazie

     Overstock’s customers have the ability to view the goods that are offered for sale, both

     in these retail establishments and on Crazie Overstock’s website, the goods in

     question may only be purchased through its website.

¶3          The retail establishments through which Crazie Overstock operates feature a

     “showroom” in which samples of the goods that are available through Crazie

     Overstock’s website are displayed. In addition, these retail establishments contain

     computers, which Crazie Overstock refers to as “order stations,” that are connected

     to the internet and through which customers have the ability to order products from

     Crazie Overstock’s website. In addition, customers are also entitled to place orders



            1 More specifically, Crazie Overstock has sought relief in this case against Mark J.,

     Senter, individually and in his official capacity as Director of the Alcohol Law Enforcement
     Division, and Iris L. Redd, Kelly J. McMurray, Chris Poole, and Brian Doward, each of whom
     are agents of the Alcohol Law Enforcement Division; in their official and individual
     capacities.
                       CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                          2021-NCSC-57

                                       Opinion of the Court



     through Crazie Overstock’s website from any location at which an internet connection

     is available. Crazie Overstock’s customers have the ability to either order goods

     through the website using a credit card or to purchase electronic gift certificates at

     retail establishments which the customer can use to purchase goods through Crazie

     Overstock’s website.

¶4         The customers who purchase gift certificates at the retail establishments

     through which Crazie Overstock operates pay $1.00 for each $1.00 of credit that is

     available in connection with a particular gift certificate.      Each customer who

     purchases a gift certificate receives a receipt bearing a number which can be

     registered with and credited to the customer’s account, which, in turn, can be accessed

     using an individual username and password at an order station or on any device that

     is connected to the Crazie Overstock website through the internet. In view of the fact

     that the value of any gift certificate that a customer may purchase is not

     automatically loaded into the customer’s account, gift certificates may be freely

     transferred from the customer to other persons. Although customers may utilize gift

     certificates to purchase goods through the Crazie Overstock website, any such

     purchases involve separately stated shipping and handling charges that the customer

     must cover using a credit card.

¶5         The portion of Crazie Overstock’s enterprise that underlies this case is known

     as the Rewards Program and revolves around the use of gift certificates to play two
                       CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                         2021-NCSC-57

                                       Opinion of the Court



     electronic games. In order to play these games, a customer is required to obtain Game

     Points by either (1) purchasing a gift certificate, with 100 Games Points being

     provided to the customer for every $1.00 that the customer pays in order to purchase

     that gift certificate; (2) “mailing a handwritten post card . . . contain[ing] the

     [customer’s] name; address; city; state; zip code; age; date of the request for Game

     Points; and the name and store address” at which the points are to be used; (3)

     making an “in-store request from the cashier at a Retail Establishment’s point-of-sale

     terminal”; or (4) “through the award of bonus Game Points by Retail Establishments

     to customers who purchase certain amounts of gift certificates.” After obtaining the

     required Game Points, the customer may use them to play the two electronic games.

¶6         In the first of the two electronic games, which consists of a game of chance

     called the Reward Game, the customer is entitled to utilize Game Points for the

     purpose of attempting to win Reward Points. The Reward Game features eighteen

     reel-spinning games which are played on an electronic machine during which various

     icons appear when the reel is spun. The results derived from playing the Reward

     Game are “drawn randomly for each of the [eighteen] different Reward Games . . .

     from a finite pool of possible results,” with “some results [being] associated with

     Reward Points while others are not.” A customer who is successful in playing the

     Reward Game receives a number of Reward Points equal to a multiple of the number

     of Game Points which the customer utilized in order to play the Reward Game. In
                       CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                         2021-NCSC-57

                                       Opinion of the Court



     the event that the customer is unsuccessful during his or her attempts to play the

     Reward Game, he or she is still awarded 100 Reward Points.

¶7         After playing the Reward Game, the customer is entitled to take the Reward

     Points that he or she earned playing the Reward Game and utilize them to participate

     in a game of skill called the Dexterity Test. The Dexterity Test involves the use of a

     simulated stopwatch that counts from 0 to 1,000 and back at a rapid rate. During

     the course of the Dexterity Test, the customer is allowed three attempts to stop the

     stopwatch on a number as close to 1,000 as possible, with the customer being awarded

     Dexterity Points based upon his or her best result. In the event that the customer

     stops the simulated stopwatch at a point between 951 and 1,000, one-hundred percent

     of the Reward Points that the customer used to play the Dexterity Test are converted

     to Dexterity Points, which can be redeemed for a cash payment calculated at the rate

     of $1.00 for every 100 Dexterity Points. In the event that the customer stops the

     simulated stopwatch at a point between 901 and 950, ninety percent of the Reward

     Points that the customer used to play the Dexterity Test are converted to Dexterity

     Points. In the event that a customer stops the simulated stopwatch at a point

     between 801 and 900, fifty percent of the Reward Points that the customer used to

     play the Dexterity Test are converted to Dexterity Points. In the event that the

     customer stops the simulated stopwatch at a point between 0 and 800, he or she does

     not win any Dexterity Points. On the other hand, the Reward Points that any such
                        CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                           2021-NCSC-57

                                        Opinion of the Court



     unsuccessful customer utilized to play the Dexterity Test are converted into Game

     Points so as to allow the customer to play the Reward Game in the hope of winning

     additional Reward Points.

¶8         The record reflects that ninety-five percent of the customers who play the

     Dexterity Test successfully stop the simulated stopwatch at a point above 800 on at

     least one of their three attempts so as to win some amount of money. As a result, a

     customer who successfully plays the Reward Game and proceeds to play the Dexterity

     Test will likely recoup some portion of the money that he or she utilized in purchasing

     the gift certificate that allowed him or her to play the games. However, in the event

     that the customer does not successfully play the Reward Game, the cash price that

     he or she is able to win is limited to a maximum of $1.00. In addition, the customer

     retains the full value of the gift certificate that he or she purchased and is entitled to

     use it to purchase merchandise from Crazie Overstock’s website.

¶9         On 24 May 2016, Crazie Overstock filed a complaint against defendants in

     which it sought (1) a declaratory judgment that the Rewards Program is lawful and

     did not violate N.C.G.S. §§ 14-289 (prohibiting the advertisement of lotteries), 14-290

     (prohibiting “[d]ealing in lotteries”), 14-292 (prohibiting gambling, defined as “any

     game of chance or any person who plays at or bets on any game of chance at which

     any money, property or other thing of value is bet, whether the same be in stake or

     not”), 14-306 (defining slot machines), 14-306.1A (prohibiting the use of video gaming
                   CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                      2021-NCSC-57

                                   Opinion of the Court



machines, including a “video game not dependent on skill or dexterity that is played

while revealing a prize as the result of an entry into a sweepstakes”), 14-306.3

(prohibiting certain game promotions), 14-306.4 (prohibiting the operation of “an

electronic machine or device” to play a “video game not dependent on skill or dexterity

that is played while revealing a prize as the result of an entry into a sweepstakes,”

with a “prize” being “any gift, award, gratuity, good, service, credit, or anything else

of value”), or “any other applicable law of this State”; (2) permanent injunctive relief;

(3) a request for a declaratory judgment that Director Senter and Agents McMurray,

Poole, Doward, and Redd had deprived Crazie Overstock of its constitutional right to

procedural due process; (4) prospective injunctive relief against Director Senter and

Agents McMurray, Poole, Doward, and Redd based upon alleged violations of 42

U.S.C. § 1983; and (5) damages against Agents McMurray, Poole, Doward, and Redd,

in their individual capacities, jointly and severally, for violations of 42 U.S.C. § 1983.

The injunctive relief that Crazie Overstock sought in its complaint included enjoining

defendants from (1) warning or threatening any current or potential North Carolina

retail establishment that it might be subject to criminal or administrative sanctions

if it continued to display or sell Crazie Overstock gift certificates or operate

equipment associated with the Rewards Program; (2) citing any North Carolina retail

establishment for criminal or administrative offenses or violations based upon the

display or sale of Crazie Overstock gift certificates or products, or the operation of
                           CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                            2021-NCSC-57

                                          Opinion of the Court



       any equipment associated with the Rewards Program; (3) compelling or attempting

       to compel, coerce, or persuade any North Carolina retail establishment to remove

       products and equipment associated with the Rewards Program or to refrain from

       selling or operating any such items; (4) making or issuing any statement outside of

       the proceedings in this case alleging or contending that any gift certificates, products,

       or equipment associated with the Rewards Program constituted an illegal gambling

       arrangement, lottery, game of chance, slot machine, or unlawful device; and (5) filing

       any false or misleading affidavits or otherwise engaging in any similar deceptive or

       unlawful conduct in connection with any investigation into the activities in which

       Crazie Overstock or any retail establishment offering the Rewards Program has

       engaged.

¶ 10         On 1 July 2016, defendants filed a motion to dismiss Crazie Overstock’s

       complaint pursuant to N.C.G.S. §§ 1A-1, Rules 12(b)(1), (2), and (6), in which they

       contended that Crazie Overstock’s claims were barred by the doctrines of sovereign

       immunity, public official immunity, and qualified immunity and asserting that

       Crazie Overstock’s request for a declaratory judgment that its Rewards Program did

       not violate N.C.G.S. § 14-306.4 failed to state a claim upon which relief might be

       granted. On 13 April 2017, the trial court entered an order denying defendants’

       dismissal motion.
                         CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                            2021-NCSC-57

                                         Opinion of the Court



¶ 11         On 17 March 2017, Crazie Overstock filed a motion seeking the issuance of a

       preliminary injunction that provided the same relief that it sought in that portion of

       its complaint seeking the issuance of a permanent injunction. On 16 May 2017, the

       trial court entered a temporary restraining order precluding defendants from taking

       certain actions against Crazie Overstock and any retail establishments participating

       in the Rewards Program pending a decision concerning Crazie Overstock’s request

       for the issuance of a preliminary injunction. On 12 July 2017, defendants filed an

       answer in which they denied the material allegations set out in Crazie Overstock’s

       complaint and asserted a number of affirmative defenses, including public official

       immunity, sovereign immunity, qualified immunity, and estoppel.

¶ 12         A hearing concerning the merits of Crazie Overstock’s motion for the issuance

       of a preliminary injunction was held before the trial court on 29 September 2017, 5

       and 6 October 2017, and 2 and 3 November 2017. On 13 December 2017, the trial

       court entered an order denying Crazie Overstock’s motion for preliminary injunctive

       relief. In making this determination, the trial court concluded that Crazie Overstock

       had failed to demonstrate that it was likely to succeed on the merits given (1) that

       “[t]he fact that Crazie Overstock’s games involve some level of skill and dexterity in

       and of itself is not enough to show a likelihood of prevailing on the merits”; (2) that

       “[t]he test for determining whether a game is prohibited under North Carolina law is

       not whether the game contains an element of skill,” but is, “[i]nstead, . . . whether
                   CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                      2021-NCSC-57

                                   Opinion of the Court



chance is the dominating element that determines the result of the game,” citing

Sandhill Amusements, Inc. v. Miller, 236 N.C. App. 340, 368 (2014), rev’d per curiam

on the basis of the dissenting opinion, 368 N.C. 91 (2015); and (3) that “[t]he element

of chance predominates any amount of skill or dexterity that may be present in Crazie

Overstock’s games, and therefore the Crazie Overstock Rewards Program may violate

N.C.G.S. § 14-306.4 and other North Carolina gambling provisions.” In addition, the

trial court concluded that Crazie Overstock had failed to show that it was likely to

sustain an irreparable injury in the absence of the issuance of the requested

preliminary injunction given that (1) “Crazie Overstock’s ability to sell goods over the

internet will in no way be affected by law enforcement officials being allowed to

enforce what they believe to be violations of the gambling laws of North Carolina as

performed by retail establishments that are operating the Crazie Overstock Rewards

Program”; (2) “[Crazie Overstock] will still be able to use its website to sell goods over

the internet and may continue to license retail establishments to promote the sale of

their goods by displaying goods for sale and selling gift certificates”; and (3) “[t]he

only impact not entering an injunction will have is that the retail establishments,

that are not a party to this action, will not be able to continue to use the Crazie

Overstock Rewards Program until such time as a trial/hearing on the merits is

conducted and this Court rules on the pending declaratory judgment action.”
                          CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                              2021-NCSC-57

                                            Opinion of the Court



¶ 13          On 11 July 2018, defendants filed a motion seeking the entry of summary

       judgment in their favor on the grounds that the record did not reveal the existence of

       any genuine issues of material fact and that defendants were entitled to judgment as

       a matter of law with respect to Crazie Overstock’s claims pursuant to N.C.G.S. §§ 14-

       306.1A and 14-306.4. On 20 July 2018, Crazie Overstock voluntarily dismissed its

       claims against Agents McMurray, Poole, Doward, and Redd, in both their individual

       and official capacities, without prejudice and the claims that it had asserted against

       Director Senter in his individual capacity. In addition, Crazie Overstock voluntarily

       dismissed the claims that it had asserted pursuant to 42 U.S.C. § 1983 relating to

       alleged violations of its procedural due process rights and its request for prospective

       relief against Director Senter without prejudice, leaving the State and Director

       Senter, acting in his official capacity, as the only remaining defendants.

¶ 14          On 25 July 2018, defendants’ summary judgment came on for a hearing before

       the trial court.2 On 7 August 2018, the trial court entered an order determining that

       there were no genuine issues of material fact with respect to the claims that Crazie



              2 At the hearing, Crazie Overstock objected to consideration of the expert reports
       submitted by defendants on behalf of Andrew Baran and Katrijn Gielens on the grounds that
       those reports had not been properly authenticated, that the reports had not been submitted
       in a timely manner, that the report prepared by Ms. Gielens contained new opinions that had
       not been previously disclosed in discovery, and that Mr. Baran’s report invaded the province
       of the trial court by offering opinions concerning the ultimate issue of whether Crazie
       Overstock’s Reward Program violated N.C.G.S. §§ 14-306.1A and 14-306.4. As a result, the
       trial court “excluded this information from consideration in its evaluation of the motion for
       summary judgment.”
                         CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                             2021-NCSC-57

                                           Opinion of the Court



       Overstock had advanced pursuant to N.C.G.S. §§ 14-306.1A and 14-306.4 and that

       defendants were entitled to judgment with respect to those claims as a matter of law.3

       As a result, the trial court allowed defendants’ motion for summary judgment,

       resulting in the dismissal of each of Crazie Overstock’s remaining claims and the

       entry of final judgment in favor of defendants. Crazie Overstock noted an appeal to

       the Court of Appeals from the trial court’s order.

¶ 15         In seeking relief from the trial court’s order before the Court of Appeals, Crazie

       Overstock argued that the trial court had erred by concluding that the Rewards

       Program violated N.C.G.S. §§ 14-306.1A and 14-306.4. As an initial matter, the Court

       of Appeals noted that N.C.G.S. § 14-306.1A “prohibits one from placing into operation

       a video gaming machine which allows a patron to make a wager for the opportunity

       to win money or another thing of value through a game of chance” and that N.C.G.S.

       § 14-306.4 “prohibits one from placing into operation an electronic machine which

       allows a patron, with or without the payment of consideration, the opportunity to win

       a prize in a game or promotion, the determination of which is based on chance.”

       Crazie Overstock Promotions, LLC v. State, 266 N.C. App. 1, 5 (2019). According to

       the Court of Appeals, “[o]ne difference between [N.C.G.S. § 14-306.4] and [N.C.G.S. §]




             3 In light of this determination, the trial court declined to rule upon the claims that

       Crazie Overstock had advanced pursuant to N.C.G.S. §§ 14-289, 14-290, 14-292, 14-306, and
       14-306.3.
                          CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                            2021-NCSC-57

                                         Opinion of the Court



       14-306.1A is that a violation of [N.C.G.S. § 14-306.4] can occur even if the patron is

       not required to wager anything for the opportunity to win a prize.” Id.

¶ 16           After noting that N.C.G.S. §§ 14-306.1A and 14-306.4 “only proscribe machines

       where prizes can be won through a game of chance” rather than by winning a “game

       of skill,” the Court of Appeals distinguished these two types of games on the basis

       that:

                     The phrase, “game of chance,” is not one long known in the
                     law and having therein a settled signification, but was
                     introduced into our statute book by the act of 1835. . . .
                     [This term] must be understood [ ] as descriptive of a
                     certain kind of games of chance in contra-distinction to a
                     certain other kind, commonly known as games of skill. [We
                     hold that] “a game of chance” is such a game, as is
                     determined entirely or in part by lot or mere luck, and in
                     which judgment, practice, skill, or adroitness have
                     honestly no office at all, or are thwarted by chance.

       Id. at 5–6 (alterations in original) (quoting State v. Gupton, 30 N.C. 271, 273–74

       (1848)). In addition, the Court of Appeals noted that, more recently, this Court has

       adopted a dissenting opinion reasoning that “the essential difference between a game

       of skill and a game of chance for purposes of our gambling statutes . . . is whether

       skill or chance determines the final outcome and whether chance can override or

       thwart the exercise of skill.” Id. at 6 (quoting Sandhill Amusements, 236 N.C. App.

       at 369). As a result, the Court of Appeals determined that, even though “there are

       elements of ‘chance’ in many ‘games of skill’ ” and that “there are sometimes elements

       of skill present in games of chance,” id. (first citing Gupton, 30 N.C. at 274, then
                         CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                            2021-NCSC-57

                                          Opinion of the Court



       Collins Coin Music Co. of N.C., Inc., v. N.C. Alcoholic Beverage Control Comm’n, 117

       N.C. App. 405, 409 (1994)), “[u]ltimately, whether a game is one of chance or one of

       skill is dependent on which element ‘is the dominating element that determines the

       result of the game,’ ” id. (quoting State v. Eisen, 16 N.C. App. 532, 535 (1972)

       (recognizing that blackjack contains elements of both skill and chance)).

¶ 17         Although the Court of Appeals determined that the Dexterity Test, considered

       in isolation, is a game of skill given that “the outcome of the game is dependent

       primarily on the patrons’ ability to react in a timely fashion,” it went on to conclude

       that the Reward Game “is a separate game in which patrons have the opportunity to

       win something of value,” consisting of “the opportunity to play an easy game of skill

       for money,” and that “this opportunity to win money, itself,” constitutes “a thing of

       value” and, therefore, a prize pursuant to the definition set forth in the statute. Id.
       at 6–7. As a result, the Court of Appeals held that, even though the Dexterity Test

       did not, standing alone, violate either N.C.G.S. §§ 14-306.1A or 14-306.4, the Reward

       Game violated N.C.G.S. § 14-306.4 as a matter of law. Id. at 8–9. On the other hand,

       given that “there [was] at least an issue of fact as to whether the Reward Game

       violates [N.C.G.S. §] 14-306.1A” arising from the fact that “[o]ne does not violate this

       Section unless the game of chance requires the patron to wager something of value”

       and the Court of Appeals’ determination that it is “unclear whether, here, patrons

       are required to wager anything of value,” the Court of Appeals affirmed the trial
                          CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                              2021-NCSC-57

                                           Opinion of the Court



       court’s decision to grant summary judgment in defendants’ favor with respect to the

       issue of whether the Rewards Program violated N.C.G.S. § 14-306.4 while reversing

       the trial court’s decision to grant summary judgment in defendants’ favor with

       respect to the issue of whether the Rewards Program violated N.C.G.S. § 14-306.1A

       and remanding this case to the Superior Court, Alamance County, for any necessary

       proceedings. Id. at 9

¶ 18          In a separate concurring opinion, Judge Hampson stated that, “at least in [his]

       view, [the Court of Appeals’] reversal of summary judgment on the question of

       whether Crazie Overstock’s business model violates [N.C.G.S.] § 14-306.1A should

       not be construed as an indication that Crazie Overstock’s business model does not

       violate [N.C.G.S.] § 14-306.1A” and should, instead, be understood as a recognition

       that “Crazie Overstock has generated a triable issue of fact as to whether the sale of

       gift certificates, in fact, constitutes the sale of a legitimate product offered in the free

       marketplace by a business regularly engaged in the sale of such goods or services or

       whether the sales of these gift certificates constitutes a mere subterfuge for illegal

       gaming.” Id (citing American Treasures, Inc. v. State, 173 N.C. App. 170, 177 (2005)).

       In light of the conflicting evidence concerning “the actual value received from [Crazie

       Overstock’s] gift [certificates],” Judge Hampson wrote that “the question sub judice

       is,” at least in part, “whether ‘the price paid for and the value received’ from the gift

       certificates ‘is sufficiently commensurate to support the determination that the sale
                         CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                            2021-NCSC-57

                                          Opinion of the Court



       of [gift certificates] is not a mere subterfuge to engage in [illegal gaming], whereby

       consideration is paid merely to engage in a game of chance.’ ” Id. at 10 (quoting

       American Treasures, 173 N.C. at 178–79). This Court granted requests for further

       review of the Court of Appeals’ decision filed by both Crazie Overstock and

       defendants.

¶ 19         In seeking to persuade us to overturn the Court of Appeals’ decision with

       respect to the issue of whether the Rewards Program violates N.C.G.S. § 14-306.4,

       Crazie Overstock begins by arguing that the Court of Appeals “fail[ed] to apply the

       correct legal standard” in evaluating the lawfulness of the Rewards Program

       pursuant to N.C.G.S. § 14-306.4 and, instead, utilized a broader legal standard

       applicable under other gambling-related statutory provisions, thereby “ignor[ing]”

       the relevant statutory language, which provides that prohibited games are those

       which are “not dependent on skill or dexterity,” see N.C.G.S. § 14-306.4(a)(3), so as to

       “render [the relevant statutory] language meaningless.” Secondly, Crazie Overstock

       argues that the Rewards Program does not violate N.C.G.S. § 14-306.4 given that

       “[w]hether a participant obtains a prize is determined solely by the participant’s

       performance on the Dexterity Test,” making the “final outcome [ ] dependent on skill

       and dexterity.” According to Crazie Overstock, “the fact that chance determines the

       value of the potential prize that can be realized through the Dexterity Test (by

       determining the amount of Reward Points awarded in the Reward Game) is not
                         CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                            2021-NCSC-57

                                          Opinion of the Court



       relevant to the analysis of the final outcome of the [ ] Rewards Program” given that

       “the test under [N.C.G.S. § 14-306.4] is limited to the analysis of the role of skill and

       chance in the final outcome only.” Thirdly, Crazie Overstock asserts that, “even if

       the standard under the gambling statutes is applied, genuine issues of material fact

       preclude[ ] the entry of summary judgment for [defendants]” given the existence of

       “substantial evidence from which a reasonable trier of fact can conclude that skill and

       dexterity predominate over chance.” Finally, Crazie Overstock argues that the Court

       of Appeals erred by holding that the Reward Game, “viewed in isolation,” violates

       N.C.G.S. § 14-306.4 on the theory that Reward Points constitute a “prize” for purposes

       of the relevant statutory provision. In Crazie Overstock’s view, the Court of Appeals’

       determination that Reward Points constitute a prize amounts to a “suggest[ion] that

       the unrealized opportunity to play the Dexterity Test has value independent of the

       value of playing the game” even though “[t]he two are inextricably linked” and the

       “Reward Points have no inherent value.”

¶ 20         In response, defendants argue, based upon this Court’s decision to adopt the

       dissenting opinion in Sandhill Amusements, that the reference to skill and dexterity

       contained in N.C.G.S. § 14-306.4 incorporates “the traditional distinction between a

       game of skill and a game of chance pursuant to state law” so as to “prohibit[ ]

       sweepstakes that are conducted through video games” in which “chance predominates

       over skill.” In view of the fact that “luck controls the symbols that appear in the reel-
                         CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                            2021-NCSC-57

                                         Opinion of the Court



       spinning Reward Games, which in turn control whether a customer can win anything

       more than $1 in cash by playing the Dexterity Test,” defendants argue that “pure

       chance is responsible for whether players ever receive anything more than $1 by

       playing its games,” causing considerations of “chance [to] predominate[ ] in Crazie

       Overstock’s games.” In addition, defendants contend that the Court’s decision to

       adopt the dissenting opinion in Sandhill Amusements establishes that the Court of

       Appeals correctly applied the “traditional” predominant factor test rather than the

       “new test” suggested by Crazie Overstock. In defendants’ view, Sandhill Amusements

       makes clear “that chance is the predominate factor when it controls the maximum

       prizes that players receive” and “can thwart skill by preventing players from winning

       the best prizes.” Finally, defendants claim that predominance is “a mixed question

       of law and fact that may be resolved on summary judgment where, as here, there is

       no dispute about how a game is played,” citing Best v. Duke Univ., 337 N.C. 742, 750
       (1994), on the theory that “mixed questions like [the issues presented in this case] do

       not turn on assessments of credibility, but instead require ‘the application of legal

       principles’ to settled facts,” quoting State v. Sparks, 362 N.C. 181, 185 (2008), and

       citing Sandhill Amusements, 236 N.C. App. at 370.

¶ 21         According to well-established North Carolina law, summary judgment “shall

       be rendered forthwith if the pleadings, depositions, answers to interrogatories, and

       admissions on file, together with the affidavits, if any, show that there is no genuine
                          CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                             2021-NCSC-57

                                          Opinion of the Court



       issue as to any material fact and that any party is entitled to judgment as a matter

       of law.” N.C.G.S. § 1A-1, Rule 56(c). An appellate court reviews a trial court’s

       decision to grant or deny a motion for summary judgment de novo. See Meinck v. City

       of Gastonia, 371 N.C. 497, 502 (2018).

¶ 22         N.C.G.S. § 14-306.4 prohibits the operation of an electronic machine which

       allows a user, with or without the payment of consideration, an opportunity to win a

       prize in a game or promotion in the event that the patron’s ability to succeed “[i]s not

       dependent on the skill or dexterity [of the patron]. N.C.G.S. § 14-306.4(a)(3)(i). In

       Sandhill Amusements, we adopted the dissenting opinion at the Court of Appeals,

       which evaluated, in pertinent part, whether an enterprise involved an illegal video

       sweepstakes machines in violation of N.C.G.S. § 14-306.4, Sandhill Amusements, 236

       N.C. App. at 343, before noting that the critical analytical issue revolves around

       whether the relevant game was “dependent on skill or dexterity.” Id. at 365. In spite

       of the fact that “the term ‘skill or dexterity’ as used in [N.C.G.S.] § 14-306.4 ha[d] not

       been statutorily defined,” the dissent in Sandhill Amusements opined that a

       reviewing court should look for guidance from the Court of Appeals’ prior decision in

       Collins Coin, in which the Court of Appeals held that “[a] game of chance is such a

       game as is determined entirely or in part by lot or mere luck, and in which judgment,

       practice, skill or adroitness have honestly no office at all, or are thwarted by chance”;

       that “[a] game of skill, on the other hand, is one in which nothing is left to chance,
                  CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                     2021-NCSC-57

                                   Opinion of the Court



but superior knowledge and attention, or superior strength, agility and practice gain

the victory”; and that “[i]t would seem that the test of the character of any kind of a

game . . . as to whether it is a game of chance or a game of skill is not whether it

contains an element of chance or an element of skill, but which of these is the

dominating element that determines the result of the game, to be found from the facts

of each particular kind of game” or, “to speak alternatively, whether or not the

element of chance is present in such a manner as to thwart the exercise of skill or

judgment.” Sandhill Amusements, 236 N.C. App. at 368 (quoting Collins Coin, 117

N.C. App. at 408) (citations and quotations omitted)). In light of the numerous

“inherent limitations on a player’s ability to win [the game at issue in that case] based

upon a display of skill and dexterity,” including the fact that the machines and

equipment at issue “only permitted a predetermined number of winners,” would

necessarily “result in the playing of certain games in which the player [would] be

unable to win anything of value regardless of the skill or dexterity that he or she

displays” and the fact that the opportunity to employ skill or dexterity was “purely

chance-based,” the dissent in Sandhill Amusements noted that it was “unable to see

how [an] isolated opportunity [to employ skill or dexterity] to affect the outcome

overrides the impact of the other features which, according to the undisputed

evidence, affect and significantly limit the impact of the player’s skill and dexterity

on the outcome.” Id. at 369. As a result, given these “inherent limitations on a
                          CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                              2021-NCSC-57

                                            Opinion of the Court



       player’s ability to win based upon a display of skill and dexterity,” the dissent in

       Sandhill Amusements stated that “an individual playing the machines and utilizing

       the equipment at issue simply does not appear to be able to ‘determine or influence

       the result over the long haul’ ” and concluded that “ ‘the element of chance

       dominate[d] the element of skill in the operation’ ” of the machines at issue in that

       case. Id. at 369–70 (quoting Collins Coin, 117 N.C. at 409).

¶ 23          The dissenting opinion in Sandhill Amusements that we later adopted suggests

       that N.C.G.S. § 14-306.4 should be interpreted to prohibit the operation of electronic

       gaming equipment in which skill or chance “dominat[e]” over a player’s exercise of

       skill and dexterity or “thwart the exercise of skill or judgment,” id. at 368 (quoting

       Collins Coin, 117 N.C. at 408). This construction of the relevant statutory language

       does not, contrary to Crazie Overstock’s contentions, render the words “dependent on

       skill or dexterity” as found in N.C.G.S. § 14-306.4(a)(3) superfluous. Instead, the

       approach that we believe to be appropriate simply focuses upon whether skill or

       dexterity actually give the player the ability to control the extent to which he or she

       receives a prize and the value of the prize that he or she wins rather than merely

       reflecting whether the player bests the odds of winning in a game of chance. 4 Thus,




              4 Assuming that all of the other requirements set forth in the statute are met, nothing

       in this opinion or the dissenting opinion which we adopted in Sandhill Amusements should
       be interpreted as an indication that a gaming enterprise in which skill or dexterity actually
       predominate in resolving the issue of whether the player receives a prize and the value of
                           CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                             2021-NCSC-57

                                          Opinion of the Court



       the relevant test for use in determining whether the operation of an electronic gaming

       device does or does not violate N.C.G.S. § 14-306.4(a) is whether, viewed in its

       entirety, the results produced by that equipment in terms of whether the player wins

       or loses and the relative amount of the player’s winnings or losses varies primarily

       with the vagaries of chance or the extent of the player’s skill and dexterity.

¶ 24         After applying the appropriate legal standard to the facts presented to us in

       this case, we are satisfied that the Court of Appeals correctly concluded that the

       Crazie Overstock’s gaming enterprise violated N.C.G.S. § 14-306.4. As an initial

       matter, given that the number of Reward Points increases the dollar value of the

       prizes that a player is entitled to win in the course of the Dexterity Test, the increased

       potential return available to such players during the Dexterity Test compels the

       conclusion that Reward Points constitute a “[ ]thing . . . of value” pursuant to N.C.G.S.

       § 14-306.4(a)(4).   For that reason, the Reward Game, even when considered in

       isolation, violates N.C.G.S. § 14-306.4.

¶ 25         Any decision to consider the Reward Game and the Dexterity Test in

       conjunction with each other produces the same result, Crazie Overstock’s argument

       to the contrary notwithstanding. In spite of the fact that the Dexterity Test, viewed

       in isolation, involves skill or dexterity, the extent to which a customer is able to win




       that prize would violate N.C.G.S. § 14-306.4, ensuring that the relevant language does not
       constitute mere surplusage.
                   CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                      2021-NCSC-57

                                   Opinion of the Court



more than a minimal amount of money is controlled by the outcome of the Reward

Game regardless of the level of skill and dexterity that the player displays while

participating in the Dexterity Test. For instance, a person who is wholly unsuccessful

in playing the Reward Game cannot win more than $1.00 in the event of success in

the Dexterity Test regardless of how well he or she performs while playing that game,

a fact that establishes that the amount of a player’s winnings is primarily dependent

upon chance rather than skill or dexterity as required by N.C.G.S. § 14-306.4. Cf.

Joker Club, LLC v. Hardin, 183 N.C. App. 92, 98 (2007) (stating that “the only factor

separating the players” in a game of poker is the “relative skill levels” of the players).

In other words, a customer cannot win more cash playing the Dexterity Test than the

amount established by the chance-driven Reward Game, although a customer may be

able to reduce the amount of cash that he or she eventually obtains by poor

performance during that phase of the process, a fact that compels the conclusion that

“the instrumentality for victory [is not] entirely in the player’s hand.” Joker Club,

183 N.C. App. at 99. As a result, we hold that luck is so “inherent in the nature of

[Crazie Overstock’s] games” that chance necessarily predominates over the exercise

of skill or dexterity, Gupton, 30 N.C. at 274, so that Crazie Overstock’s Rewards

Program should be classified as a game of chance rather than a game of dexterity or

skill. See Sandhill Amusements, 236 N.C. App. at 368.
                          CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                              2021-NCSC-57

                                            Opinion of the Court



¶ 26          The result that we reach in this case is completely consistent with the General

       Assembly’s intent in enacting N.C.G.S. § 14-306.4. As we recognized in Hest Techs.,

       Inc. v. State ex rel. Perdue, 366 N.C. 289 (2012), the General Assembly “noted that

       ‘companies have developed electronic machines and devices to gamble through

       pretextual sweepstakes relationships with Internet service, telephone cards, and

       office supplies, among other products,’ and that ‘such electronic sweepstakes systems

       utilizing video poker machines and other similar simulated game play create the

       same encouragement of vice and dissipation as other forms of gambling . . . by

       encouraging repeated play, even when allegedly used as a marketing technique.” Id.
       at 294 (quoting An Act to Ban the Use of Electronic Machines and Devices for

       Sweepstakes Purposes, S.L. 2010-103, 2010 NC. Sess. Laws 408, 408).                  As we

       understand the record, this statement of intent clearly describes the manner in which

       Crazie Overstock’s Rewards Program operates.                Thus, we have no hesitation in

       holding that Crazie Overstock’s Rewards Program represents the type of gaming

       enterprise that the General Assembly intended to prohibit by enacting N.C.G.S. § 14-

       306.4.5 In light of our determination that Crazie Overstock’s Rewards Program



              5 In addition to responding to Crazie Overstock’s challenge to the Court of Appeals’

       decision, the State argued that Crazie Overstock’s enterprise (1) violated the State’s ban on
       video gaming machines as set forth in N.C.G.S. § 14-306.1A, which defines a prohibited “video
       gaming machine” to include any “video game not dependent on skill or dexterity that is played
       while revealing a prize as the result of an entry into a sweepstakes,” see N.C.G.S. § 14-
       306.1A(b)(9); and (2) constituted an illegal gambling enterprise pursuant to N.C.G.S. §§ 14-
       292 and 14-301 on the grounds that “participants [in the Rewards Program] are not really
                   CRAZIE OVERSTOCK V. STATE OF NORTH CAROLINA

                                      2021-NCSC-57

                                   Opinion of the Court



constitutes an unlawful sweepstakes in violation of N.C.G.S. § 14-306.4 and the fact

that this determination appears to us to preclude the award of any relief in Crazie

Overstock’s favor, we conclude that there is no need for the Court to decide either of

the other issues addressed in the parties’ briefs and modify the Court of Appeals’

decision by obviating any necessity for a remand to the Superior Court, Alamance

County, for further proceedings in this case. As a result, since the Court of Appeals

correctly determined that the trial court did not err by determining that Crazie

Overstock’s gaming enterprise constitutes an unlawful sweepstakes in violation of

N.C.G.S. § 14-306.4, we modify and affirm the Court of Appeals’ decision.

        MODIFIED AND AFFIRMED.

        Justice BERGER did not participate in the consideration of or decision in this

case.




buying the promoted products,” with “the purchase of the products” being, instead, nothing
more than “a pretext to place bets,” citing Hest, 366 N.C. at 294.
